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IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA.

CASENO.: 6:)1-cv-01637-GAP-DAB

ANT BHOGAITA
Plaintiff.
v,
ALTAMONTE HEIGHTS CONDOMINIUM ASSN., INC.

Defendant.

DECLARATION QE. AJIT BHOGAITA
Under penalty of perjury, Ajit Bhogaita, who, being duly sworn upon oath,

deposes and states as follows:

1, My name is Ajit Bhogaita and [ am over 18 years old, and have personal

knowledge of the facts as set forth herein.

2. I cutrently own the apartment at 312C Cherokee Court, Altamonte

Springs, FL.

3. A tenant currently resides in this apartment, but after the current tenant's

tenacy, { plan on moving back to this apartment.

4, I would like to move back into the apartment with Kane, my emotional
support dog.
5. J am concerned that the current condominium management and board is

not sufficiently aware of my rights as a person with a disability under the Fair Housing

Act

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6. Part of the function of Kane is to provide me with a feeling of comfort to
mitigate my chronic anxiety as a result of my PTSD. The attempts to remove my dog,
and the invasive questioning increased my anxiety and caused me to obtain further
treatment from my mental health professionals. Further, it made me feel uncasy and
insecure in my own home. I believe that I have been harmed by the actions of the

association.

FURTHER AFFIANT UNDER PERJURY SAYETH NAUGHT.

Dated this 3" day of October, 2012.

